 

Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 1 of 10

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: : Chapter 11
APP WINDDOWN, LLC, et al.,' Case No. 16-12551 (BLS)
Debtors. :; (Jointly Administered)

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ORDER APPROVING DEBTOR’S MOTION FOR AN ORDER (1) AUTHORIZING
(A) THE SALE OF SHARES OF A FOREIGN AFFILIATE FREE AND CLEAR
OF ALL LIENS, CLAIMS, ENCUMBRANCES AND INTERESTS, AND (B) THE

RELEASE AND WAIVER OF CLAIMS, AND (If) GRANTING RELATED RELIEF

This matter coming before the Court on the Debtor's Motion for an Order (I) Authorizing
(A) the Sale of Shares of a Foreign Affiliate Free and Clear of All Liens, Claims, Encumbrances
And Interests, and (B) the Release and Waiver of Claims, and (I) Granting Related Relief (the

"Motion"),” filed by APP Retail Winddowa, Inc. (the "Debtor”) pursuant to sections 105 and 363

 

of title 11 of the United States Code (the "Bankruptcy Code"), Rules 2002 and 6004 of the
Federal Rules of Bankruptcy Procedure (the "Bankruptcy Rules") and Rule 6004-1 of the Local
Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware (the "Local Rules") for entry of an order (i) authorizing APP Retail to enter
into an agreement with Mr. Huh to sell him shares of AA Korea (the "Sale"), (ii) authorizing the
release and waiver of claims in connection therewith, (iii) authorizing, but not directing, the APP

Retail to execute, deliver, perform under, consummate and implement the Sale, and (iv) granting

 

' The Debtors are the following six entities (the last four digits of their respective taxpayer
identification numbers follow in parentheses): APP Winddown, LLC (f/k/a American Apparel, LLC) (0601); APP
USA Winddown, LLC (f/k/a American Apparel (USA), LLC) (8940); APP Retail Winddown, Inc. (f/k/a American
Apparel Retail, Inc.) (7829); APP D&F Winddown, Inc. (f/k/a American Apparel Dyeing & Finishing, Inc.) (0324);
APP Knitting Winddown, LLC (f/k/a KCL Knitting, LLC) (9518); and APP Shipping Winddown, Ine. (f/k/a Fresh
Air Freight, Inc.) (3870). The address of each of the Debtors is 107 Millcreek Corners, Suite B, PO Box 5129,
Brandon, MS 39407. .

2 Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.

NAI-1502547547v1

 
 

 

 

Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 2 of 10

certain related relief; the Court having reviewed the Motion and having heard the statements of
counsel regarding the relief requested in the Motion at any hearing before the Court
(the "Hearing"); and it appearing that the relief requested in the Motion is in the best interests of
APP Retail, its estate, its stakeholders, and all other parties-in-interest; and after due deliberation
thereon, and sufficient cause appearing therefor, .

IT IS HEREBY FOUND AND DETERMINED THAT?’

A. This Court has jurisdiction over the Motion and the relief requested
thereby pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding under 28 U.S.C.

§ 157(b)(2). Venue of this case and the Motion in this district is proper under 28 U.S.C. §§ 1408
and 1409.

B. Notice of this Motion and the Hearing was good, sufficient and
appropriate under the circumstances, and no other or further notice of the Motion, the Purchase
Agreement or the transactions contemplated therein is required.

C. The legal predicates for the relief requested herein are sections 105 and
363 of the Bankruptcy Code, Bankruptcy Rules 2002 and 6004, and Local Bankruptcy Rule
6004-1.

D. APP Retail has demonstrated good, sufficient, and sound business
"purposes and justification for the Sale and the releases set forth in the Purchase Agreement.

E. A reasonable opportunity to object or be heard with respect to the Motion
and the relief requested therein has been afforded to interested persons and entities, including

without limitation: (i) Mr. Huh; (ii) the official committee of unsecured creditors;

 

3 The findings of fact and the conclusions of law stated herein shall constitute the Court's findings of fact
and conclusions of law pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuantto
Bankruptcy Rule 9014. To the extent any finding of fact shall be determined to be a conclusion of law, it shall be so
deemed, and to the extent any conclusion of law shall be determined to be a finding of fact, it shall be so deemed.

-2-
NAI-1502547547v1

 

 

 
 

Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 3 of 10

(iii) the prepetition secured lenders; (iv) the United States Trustee; and (v) all other parties who
have filed a notice of appearance and request for service of documents in this case; and (vi) such
other entities as are required to be served with notices. [No parties objected to the Sale or
otherwise demonstrated and interest in acquiring the Shares after the filing of the Motion.]

F, The Purchase Agreement was negotiated, proposed, and entered into by
APP Retail, Mr. Huh, and (solely with respect to the release provisions) AA Korea without
collusion, in good faith, and from arm's-length bargaining positions, Neither the Debtor nor the
Buyer has engaged in any conduct that would cause or permit the Sale or any part of the
transactions contemplated by the Purchase Agreement to be avoidable under 11 U.S.C. § 363(n).

G. Mr. Huh is a good faith purchaser under 11 U.S.C. § 363(m) and, as such,
is entitled to all of the protections afforded thereby. Mr, Huh will be acting in good faith within
the meaning of 11 U.S.C. § 363(m) in closing the Sale after the entry of this Order.

H. The consideration provided by the Mr. Huh for the Shares in connection
with the Sale is fair and reasonable.

I, The Sale of 80,000 Shares to the Mr. Huh will be a legal, valid, and
effective transfer of the Shares and shall vest Mr. Huh with all right, title, and interest of APP
Retail to the Shares free and clear of any and all liens, claims, interests, and encumbrances of any
type whatsoever (whether known or unknown, secured or unsecured or in the nature of setoff or
recoupment, choate or inchoate, filed or unfiled, scheduled or unscheduled, noticed or unnoticed,
recorded or unrecorded, perfected or unperfected, allowed or disallowed, contingent or
non-contingent, liquidated or unliquidated, matured or unmatured, material or non-material,
disputed or undisputed, whether arising prior to or subsequent to the commencement of the

chapter 11 cases, and whether imposed by agreement, understanding, law, equity, or otherwise,

NAI-1502547547v1

 

 

 
 

Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 4 of 10

including claims otherwise arising under doctrines of successor liability) (all such liens, claims,
interests, and encumbrances, the "Interests and/or Claims").

J. If the Sale of the Shares of the Shares were not free and clear of all
Interests and/or Claims as set forth in this Order and the Purchase Agreement, Mr. Huh would
not have entered into the Purchase Agreement and would not consummate the Sale or the
transactions contemplated by the Purchase Agreement, thus adversely affecting APP Retail, its
estate, and its stakeholders.

K. The Debtor may sell or transfer their interests in the Share free and clear
of all Interests and/or Claims because, in each case, one or more of the standards set forth in 11
U.S.C. § 363(f)(1)-(5) has been satisfied. All holders of Interests and/or Claims who did not
object, or withdrew their obj ections to the Sale, are deemed to have consented to the Sale
pursuant to 11 U.S.C. § 363(f)(2), and all holders of Interests and/or Claims are adequately
protected by having their Interests and/or Claims, if any, attach to the cash proceeds of the Sale
ultimately attributable to the property against or in which they claim an Interest and/or Claim
with the same priority, validity, force, and effect as they attached to such property immediately
before the closing of the Sale.

L. Approval of the Purchase Agreement and consummation of the Sale at this
time are in the best interests of APP Retail, its estate, and its stakeholders, and other parties-in-
interest.

M. Nothing in the Purchase Agreement creates any third party beneficiary

rights in any entity not a party to the Purchase Agreement.

NAI-1502547547v1

 
 

Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 5 of 10

THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED THAT:
A. General Provisions
1, The Motion is GRANTED as set forth herein. Any remaining objections
to the Motion or the relief requested therein that have not been withdrawn, waived, or settled,
and all reservations of rights included in such objections are overruled on the merits with
prejudice and denied. All parties and entities given notice of the Motion that failed to timely
object thereto are deemed to consent to the relief sought therein.

B. Approval of the Purchase Agreement
2, Pursuant to sections 105 and 363(b) of the Bankruptcy Code, Bankruptcy

Rules 2002 and 6004, and Local Bankruptcy Rules 6004-1, the Purchase Agreement and all of
the terms and conditions thereof are hereby approved. APP Retail is authorized, but not directed,
to execute and deliver, and empowered to perform under, consummate, and implement the
Purchase Agreement a, together with all additional instruments and documents as may be
reasonably necessary or desirable to implement and close the Sale, and to take all further actions
necessary or appropriate to perform its obligations under the Purchase Agreement as may be
reasonably requested by Mr. Huh for the purpose of assigning, transferring, granting, conveying,
and conferring to the Shares to him.

3, This Order and the Purchase Agreement shall be binding in all respects
upon the APP Retail, its estate, and its stakeholders, Mr. Huh, AA Korea, and its affiliates,
successors, and assigns, and any affected third parties, including, but not limited to, all entities
asserting an Interest and/or Claim against or in the Shares to be sold to Mr, Huh notwithstanding
any subsequent appointment of any trustee or other fiduciary under any section of any chapter of
the Bankruptcy Code, as to which trustee or other fiduciary such terms and provisions likewise

shall be binding.

NAI-1502547547v1

 

 
 

 

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Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 6 of 10

4, The Purchase Agreement and any related agreements, documents, or other
instruments may be modified, amended, or supplemented by the parties thereto in accordance |
with the terms thereof without further order of the Court; provided that any such modification,
amendment, or supplement does not have a material adverse effect on the APP Retail's estate in

the good faith business judgment of APP Retail.

 

Cc. Sale of the Shares

5. Except as expressly permitted or otherwise specifically provided for in the
Purchase Agreement or this Order, pursuant to 11 U.S.C. §§ 363(b) and 363(f), upon the
consummation of the Sale and receipt by APP Retail of the purchase price, APP Retail’s right,
title, and interest in 80,000 Shares shall be transferred to Mr. Huh free and clear of all Interests
and/or Claims, with all such Interests and/or Claims to attach to the cash proceeds of the Sale in
the order of their priority, with the same validity, force, and effect that they had as against the
Shares immediately before such transfer, subject to any claims and defenses APP Retail may
possess with respect thereto. In addition, in accordance with the Court’s January 12, 2017 Order
Approving Settlement (Docket No. 493, Ex. 1, §6], all of the cash proceeds of the Sale shall
constitute collateral of the Prepetition Secured Parties (as defined in such order) and shall
therefore be subject to the Final Order (1) Authorizing the Debtors to Utilize Cash Collateral, (II)
Granting Adequate Protection to Prepetition Secured Parties and (III) Grating Related Relief
[Docket No. 492].

6. The Sale of 80,000 Shares to Mr. Huh pursuant to the Purchase Agreement
constitutes a legal, valid, and effective transfer of the Shares, and, upon receipt by APP Retail of
the purchase price, shal! vest the Mr. Huh with all right, title, and interest of APP Retail in and to

the Shares free and clear of all Interests and/or Claims of any kind or nature whatsoever.

NAI-1502547547v1

 

 
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Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 7 of 10

7, All persons and entities are hereby forever prohibited and enjoined from
taking any action that would adversely affect or interfere with the ability of the APP Retail to sell
and transfer the Shares, in each case in accordance with the terms of the Purchase Agreement or
this Order.

8. Upon the closing of the Sale, each of APP Retail's creditors is authorized
and directed to execute such documents and take all other such actions as may be necessary to
release their respective Interests and/or Claims against the Shares, if any, as such Interests and/or
Claims may have been recorded or may otherwise exist.

9. Each and every United States federal, state, and local governmental
agency or department, and any other person or entity, is hereby directed to accept any and all
documents and instruments necessary and appropriate to consummate the transactions
contemplated by the Purchase Agreement. |

| 10. All entities which are currently, or as of the closing of the Sale may be, in
possession of some or all of the Shares to be sold, transferred, or conveyed pursuant to the
Purchase Agreement are hereby directed to surrender possession of such Shares to the Mr. Huh
upon the closing of the Sale,

11.  Allentities holding Interests and/or Claims against or in APP Retail or the
Shares of any kind or nature whatsoever shall be, and hereby are, forever barred, estopped, and
permanently enjoined from asserting, prosecuting, or otherwise pursuing such Interests and/or
Claims of any kind or nature whatsoever against Mr. Huh, his property, his assigns, or the Shares
with respect to any Interest and/or Claim of any kind or nature whatsoever which such person or
entity had, has, or may have against or in the APP Retail, its estate, its officers, its directors, its

shareholders, or the Shares.

NAI-1502547547v1

 

 

 
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Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 8 of 10

E. Approval of the Releases

12. APP Retail is authorized, upon receipt of the purchase price, to release
claims against AA Korea (including any intercompany balance (including, without limitation, the
$3.3 million scheduled claim or the KRW9.5 billion claim AA Korea has acknowledged), its
management, and its employees and against Mr. Huh.

13. Mr. Huh and AA Korea shall not demand, commence any action, pursue,
or otherwise seek any recovery or funds from the Debtors or any of their directors, officers, or
employees, with respect to any claims that are released pursuant to the Purchase Agreement
(including, without limitation, the KRW7 billion claim AA Korea asserts it is owed) .

EK. Additional Provisions

14. The transactions contemplated by the Purchase Agreement are undertaken
by Mr. Huh in good faith, as that term is used in section 363(m) of the Bankruptcy Code, and
accordingly, the reversal or modification on appeal of the authorization provided herein to
consummate the sale and transfer of the Shares shall not affect the validity of the Sale to Mr.
Huh, unless such authorization is duly stayed pending such appeal. Mr. Huh is a purchaser in
good faith of the Assets pursuant to section 363(m) of the Bankruptcy Code, and is entitled to all
of the protections afforded by section 363(m) of the Bankruptcy Code.

15. The consideration provided by Mr. Huh for 80,000 Shares under the
Purchase Agreement fair and reasonable and the Sale may not be avoided under section 363(n)
of the Bankruptcy Code.

16. The failure specifically to include or to reference any particular provision
of the Purchase Agreement in this Order shall not diminish or impair the effectiveness of such
provision, it being the intent of the Court that the Purchase Agreement be authorized and

approved in their entirety.

NAI-1502547547v1

 
 

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Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 9 of 10

17, To the extent any other order in this case (including any order confirming
a chapter 11 plan, any order entered after a conversion of this case under chapter 7 of the
Bankruptcy Code or any order dismissing these chapter 11 cases) alters, conflicts with, or
derogates from the provisions of this Order, the provisions of this Order shall control.

18. This Court retains exclusive jurisdiction to interpret, construe, enforce,
and implement the terms and provisions of this Order, the Purchase Agreement, all amendments
to any of the foregoing, any waivers and consents thereunder, and of each of the agreements
executed in connection therewith in all respects, including, but not limited to, retaining
jurisdiction to (a) compel delivery of the Shares to Mr. Huh, (b) compel delivery of the purchase
price or performance of other obligations owed pursuant to the Purchase Agreement, (c) resolve
any disputes arising under or related to the Purchase Agreement, except as otherwise provided
therein, (d) interpret, implement, and enforce the provisions of this Order, and (€) protect Mr.
Huh against any Interests and/or Claims against or in APP Retail or the Shares, of any kind or
nature whatsoever, attaching to the proceeds of the Sale. For cause shown, pursuant to
Bankruptcy Rule 6004(h), this Order shall not be stayed, shall be effective immediately upon
entry, and the APP Retail and Mr. Huh are authorized to close the Sale immediately upon entry
of this Order.

19. The Debtors are authorized to take all actions necessary or appropriate to

effectuate the relief granted pursuant to this Order.

NAI-1502547547v1

 

 
 

Case 16-12551-BLS Doc1576 Filed 01/24/18 Page 10 of 10

20. The requirements set forth in Bankruptcy Rule 6004(a) are satisfied.

Dated: Wilmington, Delaware

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THE) HONORABLEBRENDANL. SHANNON
CHIEF UNITED STATES BANKRUPTCY JUDGE

-10-
NAI-1502547547v1

 
